    JS 44 (Rev. 4-29-21   Case 2:25-cv-00418                             Document
                                                                           CIVIL1-1  FiledSHEET
                                                                                  COVER    01/24/25                                       Page 1 of 3 PageID #: 27
    The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
    provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
    purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
    I. (a) PLAINTIFFS                                                                                        DEFENDANTS
    Carlos Contreras                                                                                       Polar Property Services, Inc., John A. Romanelli and Richard P.
                                                                                                           Sculco
        (b) County of Residence of First Listed Plaintiff               Nassau
                                      (EXCEPT IN U.S. PLAINTIFF CASES)
                                                                                                               County of Residence of First Listed Defendant              Nassau
                                                                                                                                     (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                               NOTE:     IN LAND CONDEMNATION CASES, USE THE LOCATION OF
       (c) Attorneys (Firm Name, Address, and Telephone Number)                                                          THE TRACT OF LAND INVOLVED.
       Moser Law Firm, PC                                                 Attorneys (If Known)
       133 C New York Avenue, PO Box 710, Huntington, NY 11743,
       United States
    II.516-671-1150
        BASIS OF JURISDICTION (Place an “X” in One Box Only)    III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                           (For Diversity Cases Only)                                     and One Box for Defendant)
        1   U.S. Government               ✖ 3 Federal Question                                                                      PTF         DEF                                           PTF        DEF
              Plaintiff                            (U.S. Government Not a Party)                     Citizen of This State            1           1     Incorporated or Principal Place             4      4
                                                                                                                                                           of Business In This State

      2 U.S. Government                      4   Diversity                                           Citizen of Another State             2         2   Incorporated and Principal Place            5        5
     Defendant                                     (Indicate Citizenship of Parties in Item III)                                                           of Business In Another State
     Does this action include a motion for temporary restraining order or order                      Citizen or Subject of a              3         3   Foreign Nation                              6        6
     to show cause? Yes___ N o___x”                                                                    Foreign Country
    IV. NATURE OF SUIT (Place an “X” in One Box Only)
               CONTRACT                                                TORTS                             FORFEITURE/PENALTY                      BANKRUPTCY                       OTHER STATUTES
        110 Insurance                      PERSONAL INJURY               PERSONAL INJURY                 625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
        120 Marine                         310 Airplane                  365 Personal Injury -               of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
        130 Miller Act                     315 Airplane Product               Product Liability          690 Other                                28 USC 157                        3729(a))
        140 Negotiable Instrument               Liability                367 Health Care/                                                                                       400 State Reapportionment
        150 Recovery of Overpayment        320 Assault, Libel &              Pharmaceutical                                                   PROPERTY RIGHTS                   410 Antitrust
            & Enforcement of Judgment           Slander                      Personal Injury                                                   820 Copyrights                   430 Banks and Banking
        151 Medicare Act                   330 Federal Employers’            Product Liability                                                 830 Patent                       450 Commerce
        152 Recovery of Defaulted               Liability                368 Asbestos Personal                                                 835 Patent - Abbreviated         460 Deportation
             Student Loans                 340 Marine                         Injury Product                                                       New Drug Application         470 Racketeer Influenced and
             (Excludes Veterans)           345 Marine Product                 Liability                                                        840 Trademark                        Corrupt Organizations
        153 Recovery of Overpayment             Liability              PERSONAL PROPERTY                          LABOR                        880 Defend Trade Secrets         480 Consumer Credit
            of Veteran’s Benefits          350 Motor Vehicle             370 Other Fraud             ✖ 710 Fair Labor Standards                    Act of 2016                      (15 USC 1681 or 1692)
        160 Stockholders’ Suits            355 Motor Vehicle             371 Truth in Lending                Act                                                                485 Telephone Consumer
        190 Other Contract                     Product Liability         380 Other Personal              720 Labor/Management                 SOCIAL SECURITY                       Protection Act
        195 Contract Product Liability     360 Other Personal                Property Damage                 Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
        196 Franchise                          Injury                    385 Property Damage             740 Railway Labor Act                862 Black Lung (923)              850
                                           Securities/Commodities/ 362 Personal Injury -                                                      Product Liability                 751 Family and Medical
                                               863 DIWC/DIWW (405(g))                                    Exchange
                                               Medical Malpractice                                           Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
            REAL PROPERTY                    CIVIL RIGHTS              PRISONER PETITIONS                790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
        210 Land Condemnation              440 Other Civil Rights        Habeas Corpus:                  791 Employee Retirement                                                893 Environmental Matters
        220 Foreclosure                    441 Voting                    463 Alien Detainee                  Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
        230 Rent Lease & Ejectment         442 Employment                510 Motions to Vacate                                                870 Taxes (U.S. Plaintiff             Act
        240 Torts to Land                  443 Housing/                      Sentence                                                               or Defendant)               896 Arbitration
        245 Tort Product Liability             Accommodations            530 General                                                           871 IRS—Third Party              899 Administrative Procedure
        290 All Other Real Property        445 Amer. w/Disabilities -    535 Death Penalty                   IMMIGRATION                            26 USC 7609                     Act/Review or Appeal of
                                               Employment                Other:                          462 Naturalization Application                                             Agency Decision
                                           446 Amer. w/Disabilities -    540 Mandamus & Other            465 Other Immigration                                                  950 Constitutionality of
                                               Other                     550 Civil Rights                    Actions                                                                State Statutes
                                           448 Education                 555 Prison Condition
                                                                         560 Civil Detainee -
                                                                             Conditions of
                                                                             Confinement
    V. ORIGIN (Place an “X” in One Box Only)
    ✖   1 Original             2 Removed from                     3     Remanded from              4 Reinstated or             5 Transferred from        6 Multidistrict                   8 Multidistrict
          Proceeding             State Court                            Appellate Court              Reopened                    Another District           Litigation -                     Litigation -
                                                                                                                                 (specify)                  Transfer                         Direct File
                                             Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                             29 USC 216
    VI. CAUSE OF ACTION Brief description of cause:
                                             Overtime
    VII. REQUESTED IN                              CHECK IF THIS IS A CLASS ACTION                       DEMAND $                                   CHECK YES only if demanded in complaint:
x        COMPLAINT:                                UNDER RULE 23, F.R.Cv.P.                              $500,000                                   JURY DEMAND:                  x Yes             No
    VIII. RELATED CASE(S)
                                                 (See instructions):
          IF ANY                                                         JUDGE                                                                DOCKET NUMBER
    DATE                                                                    SIGNATURE OF ATTORNEY OF RECORD
              January 23, 2025                                             ID KudJzNCMK21Pahb8oUVeUqFs
    FOR OFFICE USE ONLY

        RECEIPT #                     AMOUNT                                    APPLYING IFP                                   JUDGE                            MAG. JUDGE
                                CERTIFICATION
                  Case 2:25-cv-00418           OF ARBITRATION
                                      Document 1-1  Filed 01/24/25ELIGIBILITY
                                                                    Page 2 of 3 PageID #: 28
Local Arbitration Rule 83.7 provides that with certain exceptions, actions seeking money damages only in an amount not in excess of $150,000,
exclusive of interest and costs, are eligible for compulsory arbitration. The amount of damages is presumed to be below the threshold amount unless a
certification to the contrary is filed.

Case is Eligible for Arbitration

I, Steven J. Moser                                            , counsel for         Plaintiff(s)                  , do hereby certify that the above captioned civil action is ineligible for
compulsory arbitration for the following reason(s):
          ✔
                        monetary damages sought are in excess of $150,000, exclusive of interest and costs,

                        the complaint seeks injunctive relief,

                        the matter is otherwise ineligible for the following reason


                                   DISCLOSURE STATEMENT - FEDERAL RULES CIVIL PROCEDURE 7.1
                                    Identify any parent corporation and any publicly held corporation that owns 10% or more or its stocks:




                                   RELATED CASE STATEMENT (Section VIII on the Front of this Form)
Please list all cases that are arguably related pursuant to Division of Business Rule 50.3.1 in Section VIII on the front of this form. Rule 50.3.1 (a) provides that “A civil case is “related”
to another civil case for purposes of this guideline when, because of the similarity of facts and legal issues or because the cases arise from the same transactions or events, a
substantial saving of judicial resources is likely to result from assigning both cases to the same judge and magistrate judge.” Rule 50.3.1 (b) provides that “ A civil case shall not be
deemed “related” to another civil case merely because the civil case: (A) involves identical legal issues, or (B) involves the same parties.” Rule 50.3.1 (c) further provides that
“Presumptively, and subject to the power of a judge to determine otherwise pursuant to paragraph (d), civil cases shall not be deemed to be “related” unless both cases are still
pending before the court.”

                                                            NY-E DIVISION OF BUSINESS RULE 50.1(d)(2)


1.)         Is the civil action being filed in the Eastern District removed from a New York State Court located in Nassau or Suffolk
            County?                      Yes        ✔     No

2.)         If you answered “no” above:
            a) Did the events or omissions giving rise to the claim or claims, or a substantial part thereof, occur in Nassau or Suffolk
            County?            ✔     Yes              No

            b) Did the events or omissions giving rise to the claim or claims, or a substantial part thereof, occur in the Eastern
            District?          ✔     Yes              No

            c) If this is a Fair Debt Collection Practice Act case, specify the County in which the offending communication was
            received: ______________________________ .

If your answer to question 2 (b) is “No,” does the defendant (or a majority of the defendants, if there is more than one) reside in Nassau or
Suffolk County, or, in an interpleader action, does the claimant (or a majority of the claimants, if there is more than one) reside in Nassau or
Suffolk County?       __      Yes      ___      No
          (Note: A corporation shall be considered a resident of the County in which it has the most significant contacts).

                                                                                            BAR ADMISSION

            I am currently admitted in the Eastern District of New York and currently a member in good standing of the bar of this court.

                                           ✔                  Yes                                                           No

            Are you currently the subject of any disciplinary action (s) in this or any other state or federal court?

                                                              Yes       (If yes, please explain                   ✔         No




            I certify the accuracy of all information provided above.

            Signature:          ID KudJzNCMK21Pahb8oUVeUqFs                                        _
                                                                                                                                                                         Last Modified: 11/27/2017
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eSignature Details

Signer ID:       KudJzNCMK21Pahb8oUVeUqFs
Signed by:       steven Moser
Sent to email:   steven.moser@moserlawfirm.com
IP Address:      68.192.105.174
Signed at:       Jan 24 2025, 11:03 am EST
